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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

DONALD STURGIS,

                       Plaintiff,                     Case No. 1:19-cv-34
v.                                                    Honorable Gordon J. Quist
MDOC et al.,

                       Defendants.
____________________________/

                                            OPINION

               This is a civil rights action brought by a state prisoner under 42 U.S.C. §§ 1983 and

1985. Under the Prison Litigation Reform Act, Pub. L. No. 104-134, 110 Stat. 1321 (1996)

(PLRA), the Court is required to dismiss any prisoner action brought under federal law if the

complaint is frivolous, malicious, fails to state a claim upon which relief can be granted, or seeks

monetary relief from a defendant immune from such relief. 28 U.S.C. §§ 1915(e)(2), 1915A; 42

U.S.C. § 1997e(c). The Court must read Plaintiff’s pro se complaint indulgently, see Haines v.

Kerner, 404 U.S. 519, 520 (1972), and accept Plaintiff’s allegations as true, unless they are clearly

irrational or wholly incredible. Denton v. Hernandez, 504 U.S. 25, 33 (1992). Applying these

standards, the Court will dismiss Plaintiff’s complaint because Defendants are immune from suit

in this Court and the complaint fails to state a claim against them.
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                                             Discussion

               I.      Factual allegations

               Plaintiff is presently incarcerated with the Michigan Department of Corrections

(MDOC) at the Newberry Correctional Facility (NCF) in Luce County, Michigan. He sues the

MDOC and the Michigan Parole Board (MPB).

               Plaintiff alleges that Defendants retaliated against him and denied him due process

and equal protection. Specifically, he contends that the MDOC does not maintain an adequate law

library because it has removed all law books and legal materials from its library. He also contends

that the MPB is not following state law as it pertains to parole. He contends that the MPB has

denied him parole on two occasions because he allegedly minimized his conduct and blamed the

victim and the Court. Plaintiff asserts that these reasons are unfounded. He contends that the real

reason the MPB denied him parole is because a habeas corpus petition challenging his confinement

is still pending in court. Plaintiff believes that he has completed all the requirements necessary to

obtain parole, yet the parole board refuses to grant him parole for arbitrary and/or improper

reasons.

               II.     Immunity

               Plaintiff does not state a viable claim because Defendants are immune from suit in

federal court. Regardless of the form of relief requested, the states and their departments are

immune under the Eleventh Amendment from suit in the federal courts, unless the state has waived

immunity or Congress has expressly abrogated Eleventh Amendment immunity by statute. See

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 98-101 (1984); Alabama v. Pugh, 438

U.S. 781, 782 (1978); O’Hara v. Wigginton, 24 F.3d 823, 826 (6th Cir. 1993). Congress has not

expressly abrogated Eleventh Amendment immunity by statute, Quern v. Jordan, 440 U.S. 332,



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341 (1979), and the State of Michigan has not consented to civil rights suits in federal court. Abick

v. Michigan, 803 F.2d 874, 877 (6th Cir. 1986).

               Defendants are immune because the MDOC is a department of the State of

Michigan, and the MPB is part of the MDOC. See Mich. Comp. Laws § 791.231a(1). In numerous

opinions, the Sixth Circuit has specifically held that the MDOC is absolutely immune from suit

under the Eleventh Amendment. See, e.g., McCoy v. Michigan, 369 F. App’x 646, 653-54 (6th

Cir. 2010); Turnboe v. Stegall, No. 00-1182, 2000 WL1679478, at *2 (6th Cir. Nov. 1, 2000). The

same is true of the MPB. See Horton v. Martin, 137 F. App’x 773, 775 (6th Cir. 2005) (MPB

entitled to Eleventh Amendment immunity); Lee v. Mich. Parole Bd., 104 F. App’x 490, 492

(6th Cir. 2004). Therefore, Defendants are properly dismissed because they are immune from suit.

               III.    Failure to state a claim

               Even if Defendants were not immune from suit, the Court would dismiss the

complaint for failure to state a claim. A complaint may be dismissed for failure to state a claim if

it fails “‘to give the defendant fair notice of what the . . . claim is and the grounds upon which it

rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S.

41, 47 (1957)). While a complaint need not contain detailed factual allegations, a plaintiff’s

allegations must include more than labels and conclusions. Twombly, 550 U.S. at 555; Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”). The court must determine whether

the complaint contains “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570. “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 679. Although the plausibility standard is not equivalent to a



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“‘probability requirement,’ . . . it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 556). “[W]here the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged – but it has not ‘show[n]’ – that the pleader is entitled to relief.” Iqbal, 556

U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)); see also Hill v. Lappin, 630 F.3d 468, 470-71 (6th

Cir. 2010) (holding that the Twombly/Iqbal plausibility standard applies to dismissals of prisoner

cases on initial review under 28 U.S.C. §§ 1915A(b)(1) and 1915(e)(2)(B)(i)).

                        A. 42 U.S.C. § 1983

                To state a claim under 42 U.S.C. § 1983, a plaintiff must allege the violation of a

right secured by the federal Constitution or laws and must show that the deprivation was committed

by a person acting under color of state law. West v. Atkins, 487 U.S. 42, 48 (1988); Street v. Corr.

Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996). Because § 1983 is a method for vindicating

federal rights, not a source of substantive rights itself, the first step in an action under § 1983 is to

identify the specific constitutional right allegedly infringed. Albright v. Oliver, 510 U.S. 266, 271

(1994).

                Plaintiff contends that he has been deprived of due process. “The Fourteenth

Amendment protects an individual from deprivation of life, liberty or property, without due

process of law.” Bazetta v. McGinnis, 430 F.3d 795, 801 (6th Cir. 2005). To establish a Fourteenth

Amendment procedural due process violation, a plaintiff must show that one of these interests is

at stake. Wilkinson v. Austin, 545 U.S. 209, 221 (2005). Contrary to his assertions in the

complaint, he has no liberty interest in, or constitutional right to, release on parole. There is no

constitutional or inherent right to be conditionally released before the expiration of a prison

sentence. Greenholtz v. Inmates of Neb. Penal & Corr. Complex, 442 U.S. 1, 7 (1979). Although



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a state may establish a parole system, it has no duty to do so; thus, the presence of a parole system

by itself does not give rise to a constitutionally protected liberty interest in parole release. Id. at

7, 11; Bd. of Pardons v. Allen, 482 U.S. 369, 373 (1987). Rather, a liberty interest is present only

if state law entitles an inmate to release on parole. Inmates of Orient Corr. Inst. v. Ohio State

Adult Parole Auth., 929 F.2d 233, 235 (6th Cir. 1991).

               Michigan law does not entitle prisoners to release on parole. Instead, Michigan

authorities have “broad powers . . . to deny parole”; consequently, the Michigan system does not

create a liberty interest in parole. Sweeton v. Brown, 27 F.3d 1162, 1164-65 (6th Cir. 1994) (en

banc); accord Crump v. Lafler, 657 F.3d 393, 404 (6th Cir. 2011). Even the Michigan Supreme

Court has recognized that there exists no liberty interest in parole under the Michigan system.

Glover v. Mich. Parole Bd., 596 N.W.2d 598, 603-04 (Mich. 1999). Without a protected interest

in parole, Plaintiff cannot claim that he was deprived of due process when the MPB denied him

parole. See Experimental Holdings, Inc. v. Farris, 503 F.3d 514, 519 (6th Cir. 2007) (“Without a

protected liberty or property interest, there can be no federal procedural due process claim.”). That

is true even if the MPB relied on inaccurate information when denying him parole. See Caldwell

v. McNutt, 158 F. App’x 739, 740-41 (6th Cir. 2006) (affirming dismissal of claim that MPB relied

on incorrect information when denying parole).

               Plaintiff contends that the MPB denied him parole in retaliation for the fact that he

is attempting to challenge his confinement through a habeas corpus petition. This assertion is

wholly conclusory. He offers no facts to support a plausible link between the parole board’s

decisions and his habeas corpus action.

               Plaintiff also contends that he has been deprived of equal protection, but this claim

is also wholly conclusory. The Equal Protection Clause prohibits discrimination by government



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actors which either burdens a fundamental right, targets a suspect class, or intentionally treats one

differently than others similarly situated without any rational basis for the difference. Rondigo,

L.L.C. v. Twp. of Richmond, 641 F.3d 673, 681-82 (6th Cir. 2011); Radvansky v. City of Olmsted

Falls, 395 F.3d 291, 312 (6th Cir. 2005). The threshold element of an equal protection claim is

disparate treatment. Scarbrough v. Morgan Cty. Bd. of Educ., 470 F.3d 250, 260 (6th Cir. 2006);

Center for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011) (“To state an

equal protection claim, a plaintiff must adequately plead that the government treated the plaintiff

‘disparately as compared to similarly situated persons and that such disparate treatment either

burdens a fundamental right, targets a suspect class, or has no rational basis.’”). Plaintiff does not

allege that he has been treated differently from others who are similarly situated. Thus, he fails to

state an equal protection claim.

               In addition, the fact that the MPB has failed to follow its own rules or state law does

not give rise to a claim under § 1983. Section 1983 does not provide redress for a violation of a

state law. Pyles v. Raisor, 60 F.3d 1211, 1215 (6th Cir. 1995); Sweeton, 27 F.3d at 1166.

               Finally, Plaintiff’s allegations about the prison’s lack of books in the prison law

library is not enough to state a claim. It is well established that prisoners have a constitutional

right of access to the courts. Bounds v. Smith, 430 U.S. 817, 821 (1977). The principal issue in

Bounds was whether the states must protect the right of access to the courts by providing law

libraries or alternative sources of legal information for prisoners. Id. at 817. The Court noted that

in addition to law libraries or alternative sources of legal knowledge, the states must provide

indigent inmates with “paper and pen to draft legal documents, notarial services to authenticate

them, and with stamps to mail them.” Id. at 824-25. The right of access to the courts also prohibits




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prison officials from erecting barriers that may impede the inmate’s access to the courts. See Knop

v. Johnson, 977 F.2d 996, 1009 (6th Cir. 1992).

                 Here, Plaintiff neglects to mention that the MDOC provides prison inmates with

access to electronic legal materials. See MDOC Director’s Office Memorandum 2019-10 (Dec.

13, 2018) (noting that the MDOC “implemented a system by which most general population

prisoners will conduct legal research through an Electronic Law Library (ELL) system”), available

at https://www.michigan.gov/documents/corrections/2019-10_642270_7.pdf (accessed February

5, 2019). These electronic materials likely suffice as “alternative sources of legal knowledge,”

Bounds, 430 U.S. at 817, but even if that is not the case, Plaintiff fails to state a claim because he

does not allege any relevant injury stemming from the lack of legal books.

                 In order to state a viable claim for interference with his access to the courts, a

plaintiff must show “actual injury.” Lewis v. Casey, 518 U.S. 343, 349 (1996). In other words, a

plaintiff must plead and demonstrate that the shortcomings in the prison legal assistance program

or lack of legal materials have hindered, or are presently hindering, his efforts to pursue a

nonfrivolous legal claim. Id. at 351-53. As indicated, Plaintiff has not alleged any injury. He

does not allege that the lack of materials in the prison’s law library have frustrated or are hindering

his efforts at pursuing a nonfrivolous legal claim. Thus, he fails to state a claim for denial of access

to the courts.

                 For all the foregoing reasons, Plaintiff fails to state a claim under § 1983.

                         B. 42 U.SC. § 1985

                 Plaintiff also cites 42 U.S.C. § 1985, subsections (2) and (3), as the basis for a claim.

The first clause of subsection (2) “forbids a conspiracy to deter a party or witness in a federal court

from attending or testifying in court, punishing parties or witnesses for having attended or testified



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in federal court or influencing or punishing federal jurors.” Dallas v. Holmes, 137 F. App’x 746,

752 n.5 (6th Cir. 2005). That clause has no application here.

               The second clause of subsection (2) creates a cause of action against “two or more

persons” who “conspire for the purpose of impeding, hindering, obstructing, or defeating, in any

manner, the due course of justice in any State or Territory, with intent to deny to any citizen the

equal protection of the laws . . . .” 42 U.S.C. § 1985(2). “Under this clause, like § 1985(3), a

plaintiff must demonstrate that there was ‘some racial, or perhaps otherwise class-based,

invidiously discriminatory animus behind the conspirators’ action.’” Dallas, 137 F. App’x at 752

n.5 (quoting Kush v. Rutledge, 460 U.S. 719, 726 (1983)). Plaintiff does not allege any racial or

class-based discriminatory animus. Thus, he does not state a claim under subsections (2) or (3) of

42 U.S.C. § 1985. Accordingly, he does not state a claim under § 1985.

                        C. 18 U.S.C. § 1001

               Plaintiff also suggests that certain members of the MPB (who are not named as

separate defendants) violated 18 U.S.C. § 1001, which makes it a crime to defraud the United

States. However, Plaintiff has no right to enforce this statute, or any other criminal statute. See

Diamond v. Charles, 476 U.S. 54, 63 (1986) (holding that a private citizen “lacks a judicially

cognizable interest in the prosecution or nonprosecution of another.”). He therefore fails to state

a claim under § 1001.

               In summary, Plaintiff’s complaint is subject to dismissal because Defendants are

immune from suit and Plaintiff fails to state a claim against them.

                                           Conclusion

               Having conducted the review required by the Prison Litigation Reform Act, the

Court determines that the complaint will be dismissed because under 28 U.S.C. §§ 1915(e)(2),



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1915A(b), and 42 U.S.C. § 1997e(c) because Defendants are immune from suit and Plaintiff fails

to state a claim against them.

               The Court must next decide whether an appeal of this action would be in good faith

within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611

(6th Cir. 1997). For the same reasons that the Court dismisses the action, the Court discerns no

good-faith basis for an appeal. Should Plaintiff appeal this decision, the Court will assess the

$505.00 appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11, unless

Plaintiff is barred from proceeding in forma pauperis, e.g., by the “three-strikes” rule of § 1915(g).

If he is barred, he will be required to pay the $505.00 appellate filing fee in one lump sum.

               This is a dismissal as described by 28 U.S.C. § 1915(g).

               A judgment consistent with this opinion will be entered.



Dated: February 13, 2019                                      /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE




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